                                                                 Case 2:09-cv-00208-KJM-EFB Document 336 Filed 05/16/19 Page 1 of 3

                                                            1   Dale C. Campbell, State Bar No. 99173
                                                                James Kachmar, State Bar No. 216781
                                                            2   WEINTRAUB TOBIN CHEDIAK COLEMAN GRODIN
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                                                                Email: jkachmar@weintraub.com
                                                            6
                                                                Attorneys for Plaintiffs The Morning Star Packing Company,
                                                            7   Liberty Packing Company, LLC, California Fruit & Tomato
                                                                Kitchens, LLC, and The Morning Star Company
                                                            8

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                                                           10                                   UNITED STATES DISTRICT COURT
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                                                           11                                   EASTERN DISTRICT OF CALIFORNIA

                                                           12

                                                           13    THE MORNING STAR PACKING COMPANY,                   )   Case No. 2:09-CV-00208 KJM-EFB
                                                                 a California limited partnership; LIBERTY           )
                                                           14    PACKING COMPANY, LLC, a California                  )
                                                                 limited liability company; CALIFORNIA               )   NOTICE OF STIPULATED REQUEST FOR
                                                           15    FRUIT & TOMATO KITCHENS, LLC, a                     )
                                                                 California limited liability company; and THE       )   DISMISSAL WITH PREJUDICE AS TO ONLY
                                         law corporation




                                                           16    MORNING STAR COMPANY, a California                  )   DEFENDANT SCOTT SALYER
                                                                 corporation,                                        )
                                                           17                                                        )
                                                                                  Plaintiffs,                        )   AND ORDER
                                                           18                                                        )
                                                                         vs.                                         )
                                                           19                                                        )
                                                                 SK FOODS, L.P., a California limited                )
                                                           20    partnership; SK PM CORPORATION, a                   )
                                                                 California corporation; SCOTT SALYER, an                Complaint Filed: January 22, 2009
                                                                                                                     )
                                                           21    individual; RANDALL RAHAL, an individual;           )   Trial Date: No trial date set
                                                                 INTRAMARK USA, INC., a New Jersey                   )
                                                           22    corporation; INGOMAR PACKING                        )
                                                                 COMPANY, LLC, a California limited liability        )
                                                           23    company; GREG PRUETT, an individual; LOS            )
                                                                 GATOS TOMATO PRODUCTS; STUART                       )
                                                           24    WOOLF, an individual; ALAN HUEY, an                 )
                                                                 individual; and DOES 1 through 50,                  )
                                                           25    inclusive,                                          )
                                                                                                                     )
                                                           26                     Defendants.                        )
                                                           27   ///

                                                           28   ///

                                                                                                                           Notice of Stipulated Request for Dismissal as to Only
                                                                 {2645667.DOC;}                                  1                                Defendant Scott Salyer; Order
                                                                                                                                              Case No. 2:09-cv-00208-KJM-EFB
                                                                 Case 2:09-cv-00208-KJM-EFB Document 336 Filed 05/16/19 Page 2 of 3

                                                            1           Plaintiffs The Morning Star Packing Company, Liberty Packing Company, LLC,

                                                            2   California Fruit & Tomato Kitchens, LLC, and The Morning Star Company (collectively,

                                                            3   “Plaintiffs”) and defendant Scott Salyer (“Salyer”), by and through their attorneys of record,

                                                           4    file this stipulation and proposed order of dismissal with prejudice of the claims against Salyer

                                                            5   only pursuant to Federal Rules of Civil Procedure, rule 41(a)(2).

                                                            6           Plaintiffs filed their Complaint on January 22, 2009, naming Salyer and others as

                                                            7   defendants. Dkt. 1. On January 29, 2010, Plaintiffs filed a First Amended Complaint. Dkt. 100.

                                                            8   On December 6, 2010, Plaintiffs filed a Second Amended Complaint. Dkt. 116.

                                                            9           In accordance with the terms and conditions of a settlement agreement between

                                                           10   Plaintiffs and Salyer, the parties hereby stipulate and request that Salyer be dismissed with
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                                                           11   prejudice in the above-entitled action pursuant to rule 41(a)(2) of the Federal Rules of Civil

                                                           12   Procedure. Plaintiffs and Salyer further stipulate that each side shall bear its own attorneys’

                                                           13   fees and costs.

                                                           14           IT IS SO STIPULATED.

                                                           15                                       Respectfully submitted,
                                         law corporation




                                                           16   Dated: April 29, 2019               WEINTRAUB TOBIN CHEDIAK COLEMAN GRODIN
                                                                                                    Law Corporation
                                                           17

                                                           18                                       By:     /s/ Dale C. Campbell
                                                                                                            Dale C. Campbell, SBN 99173
                                                           19
                                                                                                    Attorneys for Plaintiffs The Morning Star Packing
                                                           20   Company,
                                                                                                    Liberty Packing Company, LLC, California Fruit & Tomato
                                                           21                                       Kitchens, LLC, and The Morning Star Company
                                                           22
                                                                Dated: April 29, 2019               SEGAL & ASSOCIATES
                                                           23

                                                           24                                       By:     /s/ Malcolm S. Segal
                                                                                                            Malcolm S. Segal, SBN 75481
                                                           25
                                                                                                    Attorneys for Defendant Scott Salyer
                                                           26

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                                                                                                                       Notice of Stipulated Request for Dismissal as to Only
                                                                 {2645667.DOC;}                                 2                             Defendant Scott Salyer; Order
                                                                                                                                          Case No. 2:09-cv-00208-KJM-EFB
                                                                 Case 2:09-cv-00208-KJM-EFB Document 336 Filed 05/16/19 Page 3 of 3

                                                            1                                               ORDER

                                                            2           Having reviewed the above Stipulated Request for Dismissal with Prejudice by Plaintiffs

                                                            3   The Morning Star Packing Company, Liberty Packing Company, LLC, California Fruit & Tomato

                                                           4    Kitchens, LLC, and The Morning Star Company (collectively, “Plaintiffs”) and defendant Scott

                                                            5   Salyer, and good cause appearing therefor,

                                                            6           IT IS HEREBY ORDERED that Plaintiffs’ action as to defendant Scott Salyer only is

                                                            7   dismissed with prejudice. Each side shall bear its own attorneys’ fees and costs.

                                                            8           IT IS SO ORDERED.

                                                            9   DATED: May 16, 2019.
                                                           10
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                                                           11
                                                                                                                   UNITED STATES DISTRICT JUDGE
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                                         law corporation




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                                                                                                                       Notice of Stipulated Request for Dismissal as to Only
                                                                 {2645667.DOC;}                                3                              Defendant Scott Salyer; Order
                                                                                                                                          Case No. 2:09-cv-00208-KJM-EFB
